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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No.

  TODD RUELLE, an individual; SUMMIT COUNTY RESORT
  HOMES INC., a Colorado nonprofit corporation;

                 Plaintiffs,

         v.

  SUMMIT COUNTY BOARD OF COUNTY
  COMMISSIONERS; ELISABETH LAWRENCE, in her
  Official Capacity as a Commissioner;
  TAMARA POGUE, in her Official Capacity as a
  Commissioner; and JOSHUA BLANCHARD, in
  his Official Capacity as a Commissioner,

                 Defendants.



              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


                                    NATURE OF THE ACTION

         Summit County, Colorado—the site of four world-class ski resorts and an abundance of

  federal, state, and local open lands, trails, lakes, and streams—has been a place where Colorado

  residents and out-of-state tourists flock to recreate. For decades, many of these visitors have rented

  Summit County homes for short-term stays, rather than stay in hotels. Such short-term rentals

  (“STRs”)1 provide accommodations for visitors who prefer a residential environment and provide




  1
   Summit County regulations define an STR as “a residential dwelling unit, or any room therein,
  available for lease or exchange for a term of less than thirty (30) consecutive days.” Summit
  County, Colorado, Ordinance 20-C, § 1.1(b) (2023).
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  a supplemental source of income for homeowners, many of whom rely on that income to pay for

  their mortgages or for other basic needs.

         This action arises out of the Summit County Board of County Commissioners’ (“BOCC”)

  blunderbuss response to STRs. In an effort to reduce the number of STRs in the County, the BOCC

  imposed successively more severe, wide-ranging, misguided, and unlawful regulations only on

  portions of residences in the County without first assessing whether the previously enacted, less

  stringent measures were adequate to remedy the perceived ills of STRs.

         Under the current regime, all County property owners must obtain a license from the

  County to engage in STRs. But certain residences may still be used for STRs unimpeded, while

  much of the County—where use of residences as STRs has occurred for decades—is subject to:

            Severe limits on the number of STR bookings for which each homeowner may

             contract;

            Caps on the number of STR licenses;

            Prohibitions on transferring STR licenses to home buyers;

            Limits on occupancy within each home used for STRs;

            Qualified-occupancy standards that are nonsensical and discriminate against

             out-of-state owners of County homes;

            Requirements to have 24/7 management available to address neighbor

             complaints; and

            Many other constraints.

         Not all these measures are illegal. In fact, certain requirements—like STR licenses and the

  need for local 24/7 STR management—obviate the need for many other constraints imposed on

  homeowners, like STR booking limits. But certain aspects of this regulatory regime go too far.



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  And the BOCC’s justifications for its excessive STR regulations, including that STRs deprive the

  County of local workforce housing, are fabricated and seek to involuntarily enlist private

  homeowners to solve the County’s failure to adequately address the workforce housing shortage.

  The County’s line-drawing between the STR haves and have-nots is indefensible, and its

  impairment of historical, lawful residential uses undermines the reasonable expectations of and

  investments made by private homeowners who wish to exercise their private property rights to

  meet a growing and important community need.

         In short, many of the BOCC’s STR regulations, embodied in County Ordinances 20-B and

  20-C, violate Plaintiff Todd Ruelle’s and members of Plaintiff Summit County Resort Homes

  Inc.’s (“SCRH”) due process and equal protection rights, as well as their rights protected by the

  Commerce Clause, under the United States Constitution. They also violate their statutory and

  constitutional rights under Colorado state law. Thus, these STR regulations that treat County

  homeowners differently, limit the STR bookings a homeowner can host, cap the STR licenses in

  the County, and prohibit the transfer of STR licenses must be declared void and enjoined.

                                          THE PARTIES

  Plaintiff Todd Ruelle

     1. Plaintiff Todd Ruelle is a homeowner in unincorporated Summit County and has been for

  decades. He bought his home on October 10, 1980.

     2. Since 1990, Mr. Ruelle has regularly rented his home as an STR. During an average year,

  Mr. Ruelle hosts roughly 65 STR bookings.

     3. The County’s STR booking limitations thus will cost Mr. Ruelle tens of thousands of dollars

  in lost rental income.




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  Plaintiff Summit County Resort Homes Inc.

     4. SCRH is a Colorado nonprofit corporation with its principal place of business at 349

  American Way, P.O. Box 2525, Breckenridge, CO 80424.

     5. SCRH is organized to defend the rights of its members and other owners of residential

  property in Summit County, Colorado to use their residential properties as STRs.

     6. SCRH’s membership consists of individuals who own residential property in unincorporated

  Summit County, pay dues as prescribed by SCRH’s Board of Directors, and are designated by

  SCRH as members. Each member has a right to vote on each matter submitted to a vote of the

  members, including, but not limited to, election of members to serve on SCRH’s Board of

  Directors.

     7. SCRH currently has three Directors, and each Director is a member of SCRH.

     8. Mr. Ruelle is a Director of SCRH and is the nonprofit’s President.

     9. Mark Mason (“Mark”) is also a Director of SCRH and serves as its Secretary.

     10. Mark bought his home in unincorporated Summit County in the fall of 2005; it has been

  his and his family’s primary residence since then.

     11. He began renting his home as an STR in 2008. The home’s STR rental income has helped

  him and his family through Mark’s wife’s early retirement because of medical necessity and a six-

  month period during which Mark could not work because of a medical complication.

     12. Richard Mason (“Rich”) is SCRH’s third Director and serves as its Treasurer.

     13. Rich owns two homes in unincorporated Summit County. He personally built both of them

  with help from his family.

     14. In 1998, Rich bought his first lot in the County and finished construction of his first home

  in 2000.




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     15. In 2013, Rich bought the land directly next to his home to build a carriage house,

  completing construction in 2019. Rich began renting out his primary residence as an STR in 2016

  and the carriage house in 2019.

     16. The severe restrictions on the number of STR bookings an STR owner can host will have

  a significant financial and personal effect on Rich, costing him thousands in lost rental income and

  setting back his retirement plans by years.

     17. As of the filing of this complaint, SCRH has 89 members, each of whom owns property in

  at least one of 21 neighborhoods across unincorporated Summit County.

     18. SCRH has Article III standing to assert these claims on behalf of its members and other

  similarly situated residential property owners in the County because (a) its members own property

  in unincorporated Summit County that they currently rent, or wish to rent, as STRs; (b) the

  County’s STR regulations are germane to SCRH’s purpose; and (c) the claims SCRH asserts and

  the relief requested do not require the participation of individual members.

  The Summit County Defendants

     19. Defendant BOCC serves as the legislative and policy-setting body for the Summit County

  government. The County is a political subdivision of the State of Colorado and is subject to the

  jurisdiction and venue of this Court. At all times relevant hereto, the BOCC acted in its official

  capacity as a governmental body under the laws of the State of Colorado.

     20. The BOCC is the proper name under which to sue Summit County, and it is considered a

  person under 42 U.S.C. § 1983. See Pierce v. Delta Cnty. Dept. of Social Servs., 119 F. Supp. 2d

  1139, 1148 (D. Colo. 2000) (adopting the “well-reasoned analysis” in Wigger v. McKee, 809 P.2d

  999, 1003 (Colo. App. 1990), in which the court determined Arapahoe County was properly sued

  in the name of The Board of County Commissioners of Arapahoe County).




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     21. Defendant Elisabeth Lawrence is, and has at all relevant times been, a Commissioner on

  the BOCC, and in performing her duties is and was acting under color of law. Ms. Lawrence is

  being sued only in her official capacity.

     22. Defendant Tamara Pogue is, and has at all relevant times been, a Commissioner on the

  BOCC, and in performing her duties is and was acting under color of law. Ms. Pogue is being sued

  only in her official capacity.

     23. Defendant Joshua Blanchard is, and has at all relevant times been, a Commissioner on the

  BOCC, and in performing his duties is and was acting under color of law. Mr. Blanchard is being

  sued only in his official capacity.

                                   JURISDICTION AND VENUE

     24. This Court has subject matter jurisdiction, under 28 U.S.C. § 1331, because this action

  arises under the Constitution and laws of the United States, and under 42 U.S.C. § 1983.

     25. Under 42 U.S.C. § 1983:

     Every person who, under color of any statute, ordinance, regulation . . . subjects, or
     causes to be subjected, any citizen of the United States or other person within the
     jurisdiction thereof to the deprivation of any rights . . . secured by the Constitution and
     laws, shall be liable to the party injured in an action at law, suit in equity, or other
     proper proceeding for redress . . . .

     26. This is also an action for declaratory judgment and injunctive relief under 28 U.S.C. § 2201

  challenging the validity and constitutionality of certain Summit County STR regulations. Under

  28 U.S.C. § 2201, this Court may issue a declaratory judgment on the matter.

     27. The Court has supplemental jurisdiction over the Colorado state-law claims under

  28 U.S.C. § 1367.

     28. Venue is proper under 28 U.S.C. § 1391(b), as the events giving rise to these claims

  occurred in Colorado.




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                                   GENERAL ALLEGATIONS

      29. Summit County is a Colorado mountain county covering about 600 square miles. Its county

  seat is Breckenridge, Colorado. The County includes incorporated towns like Breckenridge and

  Silverthorne, as well as unincorporated areas.

      30. The BOCC is the governing body for unincorporated Summit County. Mr. Ruelle and

  SCRH members own homes and other residential properties in unincorporated Summit County

  and, thus, are subject to the BOCC’s STR regulations.2

      31. Historically, and continuing through today, the entire County has been a premier

  destination for visitors seeking a getaway in Colorado’s Rocky Mountains.

      32. Each County neighborhood provides access to world-class skiing and snowboarding in the

  winter, and biking, hiking, fishing, and boating in the summer. The County’s year-round outdoor

  attractions entice visitors from all over the country and the world. And even those not seeking

  adventure can enjoy this special destination. Less active visitors come to Summit County to

  commune with nature and experience the breathtaking views, cool summer weather, and abundant

  winter snowfall. These experiences are accessible from every neighborhood in the County.

      33. It is no wonder that many visitors prefer staying at an STR rather than in a hotel. As STR

  guests have reported to SCRH members, STRs feel like a home away from home for County

  guests. From the extra efforts that STR hosts put in (such as personalized sightseeing

  recommendations and the hand warmers left for guests who are not used to the cold), to the love

  that the hosts pour into their homes’ upkeep and décor, to the accommodations for larger families,

  STRs provide an appealing alternative to hotel stays.




  2
   The regulations discussed here affect the areas of unincorporated Summit County. Towns in
  Summit County, such as Breckenridge, are not subject to the ordinances challenged here.

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     34. Indeed, SCRH members have guests whose families return every year to the same home

  because they have built such a connection with the area and the STR. SCRH members have even

  helped guests plan marriage proposals and then hosted the families’ return the next year for the

  wedding.

     35. The County community has also harnessed the benefit of these residences to serve public

  purposes. For example, Advocates for Victims of Assault, Inc., which is a nonprofit that provides

  services to survivors of domestic violence, sexual assault, and associated traumas, has consistently

  partnered with some SCRH members over the years. One of the services this nonprofit is able to

  offer due to its partnership with these SCRH members is the provision of safe overnight housing

  for individuals fleeing dangerous situations. If a survivor needs immediate housing, Advocates for

  Victims of Assault is able to connect them with STR hosts who have an open room for the night.

  The STR hosts provide this housing at a vastly reduced rate, often only receiving just enough to

  cover the STR’s cleaning fee from the nonprofit.

     36. As another example, Colorado State Patrollers often stay in Summit County STRs when

  winter storms do not allow them to travel home safely or when they are relocated to the County.

  STR property owners, including Mr. Ruelle, have provided their homes to patrollers at

  significantly discounted rates.

  For decades, STRs have been a fixture across Summit County and have supported the County’s
  economy.

     37. Summit County’s economy relies on the economic activity of STR guests.

     38. Historically, boarding houses and hostels offering short-term stays fueled the development

  of the County. Many homeowners rented their spare rooms to guests just as SCRH members do

  today. Knowing the longstanding demand for this sort of lodging, nearly all SCRH members




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  bought their Summit County properties with the intent to rent out their homes as STRs at least part

  time.

      39. STR guests augment County resident spending, growing the overall economic activity in

  the County. For instance, according to a recent industry study, in 2020, STR guests increased

  spending in the County by around $40,000 per County resident and generated $26.8 million in

  state and local taxes.

      40. Summit County also had the highest portion of tourism-related jobs among its fellow

  Colorado mountain communities: Eagle, Grand, Pitkin, and Routt Counties.

      41. In 2020, about half of all jobs in the County were in tourism-related industries, and STR-

  guest spending in Summit County supported 5,900 jobs, with $211.6 million in earnings.

   The County’s initial regulation of STRs.

      42. Starting around 2017, the BOCC sought community input on the effects of STRs in the

  County.

      43. Upon information and belief, in 2018, the BOCC initiated public planning and outreach

  sessions to develop regulations regarding STRs.

      44. Unfortunately, the BOCC’s public process unfairly impeded the efforts of STR supporters

  to voice their concerns with the proposed regulations. For example, County residents found it

  difficult to access recorded BOCC meetings, including because the County displayed

  malfunctioning hyperlinks on its website. Nor, upon information and belief, did the County record

  any of its work sessions where it developed the STR regulations. Also, during numerous BOCC

  meetings, the BOCC intentionally moved the public comment period to the end of the meeting so

  that those who attended were forced to sit for hours through the entire agenda to have their voices

  heard on STR regulations.




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      45. Despite the BOCC’s tactics, many SCRH members were among those who remained

   engaged in the STR regulatory process, continually attempting to have their voices heard at BOCC

   meetings or through emails sent to the Commissioners and BOCC staff members. Again, however,

   their voices were ignored by the County, which relied instead on self-serving, paid STR studies

   and manipulated survey data to impose unlawful STR restrictions.

      46. December 2018 was the first time the BOCC sought to regulate STRs. The regulations

   required STR owners to apply for an STR permit by June 1, 2019.

      47. The permitting system also added certain rules for STRs. The new system:

              a. Imposed occupancy restrictions;

              b. Required property owners devise plans for parking and trash disposal at the
                 property during STRs;

              c. Mandated the identification of a responsible agent for the property, should STR
                 guests or the County require a readily accessible point of contact; and

              d. Made the permits nontransferable, requiring a new owner of an STR to renew the
                 permit upon transfer of title.

      48. But the permit system imposed no caps on the number of properties that could be used for

   STRs and no booking limits. So any homeowner in the County could obtain an STR permit and

   have as many STR bookings as they would like.

      49. At that time, and at all times relevant to the current proceedings, Summit County also had

   an ordinance restricting nuisances caused by noise, County code provisions addressing building

   occupancy limits, and requirements for trash clearing and collection. These provisions applied then

   and apply now throughout the County to all homeowners and visitors, including to any STR

   property owners and guests.

      50. On March 23, 2020, Colorado Governor Jared Polis signed into law House Bill 20-1093.

   This bill, effective September 17, 2020, amended C.R.S. § 30-15-401 to authorize the boards of



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   county commissioners across the state to license and regulate STRs. This law, however, does not

   authorize Colorado boards of county commissioners to disregard property owners’ constitutional

   and statutory property rights. Yet Summit County’s BOCC has done just that.

      51. Right after the state-wide legislative change, the BOCC directed its staff to develop a plan

   to transition from an STR permitting scheme to a licensing one.

      52. Summit County Ordinance 20 (“Ordinance 20”) accomplished this transition from STR

   permits to STR licenses.

      53. The first reading of Ordinance 20 occurred at a BOCC meeting in May 2021.

      54. The BOCC publicly stated that little of the STR regulatory scheme’s substance would

   change with the passage of Ordinance 20. It repeatedly emphasized that converting from STR

   permits to licenses would give the County better enforcement tools.

      55. With permits, the County had to undergo extensive notice procedures and could not levy a

   fine on a violator without a court order. But with licenses, the BOCC explained, the County could

   immediately levy a fine for an STR violation that is enforceable by the County Sheriff’s Office.

   Additionally, the County could more easily revoke an STR license for violations through an

   administrative process, as compared to a court proceeding for revoking a permit.

      56. The BOCC adopted the migration to STR licensing under Ordinance 20 at its June 21, 2021

   meeting. A true and correct copy of Ordinance 20 is attached as Exhibit 1.

      57. While Ordinance 20 went into effect on its passage, existing STR permit holders had until

   September 30, 2021, to convert their permit to a license. Like with the permit scheme, Ordinance

   20’s licensing scheme imposed no limits on the number of STR bookings and no caps on the number

   of STR licenses available in unincorporated Summit County.




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   The County’s Moratorium on New STRs and the Adoption of Ordinance 20-B .

      58. On September 14, 2021, before the new licensing scheme had fully gone into effect—a

   change the BOCC touted as the solution to better police STRs—the BOCC approved a 90-day

   moratorium on issuing STR licenses, effective September 18, 2021.

      59. A September 14, 2021 memorandum from County Planning Department staff to the BOCC

   stated that “[t]he purpose of the moratorium is to address the local workforce housing crisis” by

   temporarily pausing the issuance of new STR licenses “to allow staff time to develop and propose

   amended STR regulations.” Yet the BOCC instituted this moratorium before giving the newly

   enacted STR licensing scheme, Ordinance 20, a chance to have (or for the BOCC to witness) its

   intended salutary effect.

      60. A mere two months after the transition from STR permits to licenses under Ordinance 20,

   the BOCC introduced another set of more stringent STR regulations: Summit County Ordinance

   20-B (“Ordinance 20-B”).

      61. Ordinance 20-B created “Overlay Zones” that distinguish between areas of unincorporated

   Summit County that are “resort areas” versus those that are “neighborhood areas.” The two overlay

   zones—the Resort Overlay Zone (“ROZ”) and the Neighborhood Overlay Zone (“NOZ”)—are

   also codified in Chapter 4 of the County’s Land Use and Development Code.

      62. While Chapter 4 expressly designates by name certain County areas as ROZ, it defines the

   NOZ merely as areas that are not ROZ: “The STR Neighborhood Overlay Zone encompasses the

   remainder of unincorporated Summit County Outside of the STR Resort Overlay Zone.” Summit

   County, Colorado, Land Use and Dev. Code ch. 4 § 4302 (2021).

      63. How the County classifies a residential property—ROZ or NOZ—dictates the STR rules

   that apply to the property. And those rules vary greatly depending on the classification, from the




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   ability to host as many STR bookings as you want, to not being able to host guests as an STRs at

   all.

          64. The BOCC claims that properties in the ROZ were developed specifically to accommodate

   vacationing tourists, while properties in the NOZ were not. The BOCC is wrong. In reality, the

   fabricated overlay zones are distinctions without a difference.

          65. Despite there being no meaningful differences between the areas classified NOZ versus

   ROZ, under Ordinance 20-B, the BOCC imposed STR restrictions in the NOZ, while leaving the

   ROZ unaffected.

          66. Ordinance 20-B created three types of NOZ STR licenses:

                 a. Type I License: To receive a Type I license, the relevant STR had to be the property

                    owner’s primary residence—that the owner occupied at least nine months of the

                    year. If the property owner was at the property during the STR rental periods, the

                    Ordinance imposed no maximum on the number of nights for which the STR could

                    be rented. But if the owner was absent during the bookings, the STR could be rented

                    only for up to 60 nights total, as calculated from October 1 through September 30.

                 b. Type II License: Any homeowner in the NOZ could apply for a Type II license, but

                    the BOCC capped the total nights per year for which an STR could be booked at

                    135 nights.

                 c. Type III License: These licenses had no limits on the number of nights a property

                    could serve as an STR, but property owners had to be first approved through the

                    Conditional Use Permit process.

          67. Additionally, for every STR in the NOZ, Ordinance 20-B decreased the occupancy limits

   to two guests per bedroom, plus two additional guests. Starting with the County’s permitting




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   system and continuing through Ordinance 20, occupancy limits had been set at two guests per

   bedroom, plus four other occupants.

       68. On December 16, 2021, a mere month after introducing Ordinance 20-B and after allowing

   nearly no time for public comment, the BOCC signed Ordinance 20-B into law. A true and correct

   copy of Ordinance 20-B is attached as Exhibit 2.

       69. For those property owners in the NOZ who already held STR licenses, Ordinance 20-B’s

   regulations did not go into effect until September 30, 2025. Thus, to a degree, the County exempted

   from compliance with Ordinance 20-B, for a period of time, those homeowners already holding

   an STR license—but only those owners.

   With Ordinance 20-C, the BOCC again further restricts STR property owners before allowing
   its prior regulations to take meaningful effect.

       70. In May 2022, six months after the adoption of Ordinance 20-B, the BOCC enacted a

   second moratorium on the issuance of STR licenses in the NOZ. This time it was a nine-month

   moratorium.

       71. Yet again, the BOCC billed the moratorium as an opportunity to give BOCC staff more

   time to propose additional regulations for STRs within the County on only some property owners.

       72. And yet again, SCRH members fought to have their voices heard by their County

   representatives and protect their rights to rent their homes as STRs. But the County would not

   listen.

       73. For example, Mr. Ruelle attended various BOCC meetings where the County addressed its

   proposed STR regulations, including a meeting on January 24, 2023. At that meeting, the County

   introduced its desire to impose STR booking limitations for NOZ properties. But the County

   refused to hear public comment on its proposed booking limitations despite concerned owners’

   requests to be heard.



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      74. After the BOCC refused to listen to STR property owners, Mr. Ruelle approached Mr.

   Jeffrey Huntley, the County Attorney, and asked for a minute of his time to discuss the STR

   regulations. Mr. Huntley refused to speak with Mr. Ruelle. When Mr. Ruelle continued his appeal

   to speak with Mr. Huntley by saying he is a taxpayer, Mr. Huntley responded “I don’t give a

   damn.” He then shut the door to his office in Mr. Ruelle’s face. This episode is emblematic of the

   County’s and its leaders’ disregard for property owners’ rights.

      75. The BOCC’s rapid-fire accumulation of restrictions on the use of private property resulted

   in arbitrary STR regulations, as prior provisions were not given time to take effect. And the County

   was not interested in listening to any feedback to the contrary. It had a goal to limit STRs, and it

   planned to achieve that goal whether property owners liked it or not.

      76. Less than a month after first proposing the NOZ STR booking limitations, the BOCC

   adopted Summit County Ordinance 20-C on February 15, 2023. Ordinance 20-C is the culmination

   of the BOCC process to limit STRs and represents further encroachment on property owners’

   rights to lease their properties. A true and correct copy of Ordinance 20-C is attached as Exhibit 3.

      77. Ordinance 20-C upended the anticipated regulatory scheme before the regulations in

   Ordinance 20-B had fully gone into effect. It also sped-up the implementation of this new regime.

   Ordinance 20-C’s key features violate Mr. Ruelle’s, SCRH members’, and similarly situated

   County property owners’ rights.




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                    a. Preferential treatment of “Qualified Occupants” is irrational and
                    discriminatory.

       78. Under Ordinance 20-C, there are only two types of STR licenses that apply to properties

   in the NOZ: Type I and Type II licenses.3

       79. There is no cap on the number of available Type I STR licenses in the NOZ. But that is not

   the case for Type II licenses. Ordinance 20-C imposed strict caps on the number of Type II licenses

   allowed within each of the County’s four basins.

       80. For a property owner in the NOZ to obtain a Type I license, and thus avoid the NOZ license

   caps, a “Qualified Occupant” must live in the home. And only that “Qualified Occupant” can

   engage in STRs.

       81. Under Ordinance 20-C, a Qualified Occupant must not only designate the home they use

   as an STR as their primary residence, they also must work an average of 30 hours per week,

   annually, for “a business or organization operating in and serving Summit County, which requires

   [the individual’s] physical presence within the boundaries of Summit County in order to complete

   the task or furnish the service.” Ordinance 20-C, § 1.1(d).

       82. Individuals who are self-employed or work from home and want to satisfy the Qualified

   Occupant threshold must show that the business they operate or for which they work is located

   within and serves Summit County and that the individual’s physical presence is required within

   Summit County. Id. § 1.1(d)(i).

       83. Ordinance 20-C’s definition of “Qualified Occupant” means that an out-of-state resident

   cannot be one.




   3
    Type III licenses, which were available under Ordinance 20-B, will automatically convert to
   Type II licenses upon renewal in September 2023. No new Type III licenses will be issued under
   Ordinance 20-C.

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      84. A County resident who is now retired also cannot be a Qualified Occupant. “Qualified

   Occupants may be authorized to retire,” but that assumes that the individual is already a Qualified

   Occupant. Id. § 1.1(d)(ii).

      85. The “Qualified Occupant” exception to the STR licensing caps in the NOZ is arbitrary,

   overly burdensome, unnecessarily restrictive, and unlawful.

                    b. Caps on Type II STR licenses in the NOZ are arbitrary and discriminatory.

      86. Ordinance 20-C does not cap the number of STR licenses available in the ROZ.

      87. But in the NOZ, a property owner’s eligibility for a Type I versus a Type II STR license

   determines whether they can even apply for a license, let alone get one.

      88. Again, Type I STR licenses are not capped.

      89. Type II STR licenses are capped per basin in NOZ areas under the following distribution:

                 a. Lower Blue Basin: 550 licenses (or about 15% of properties could obtain a license);

                 b. Snake River Basin: 130 licenses (or about 5% of properties could obtain a license);

                 c. Ten Mile Basin: 20 licenses (or about 6% of properties could obtain a license); and

                 d. Upper Blue Basin: 590 licenses (or about 18% of properties could obtain a license).

      90. Each of these caps is set at a lower number than the current number of STR licenses in

   each basin.

      91. While the BOCC has stated it will not pull STR owners’ current licenses, it plans to meet

   these caps through attrition, prohibiting the transfer of STR licenses, and denying new applications

   for STR licenses. Meanwhile, properties located in the ROZ are subject to no licensing caps—

   meaning any property owner in the ROZ that wants an STR license can get one.




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      92. Under the BOCC’s projections, the Lower and Upper Blue Basins will drop below the STR

   cap in 2025, while Snake River and Ten Mile River Basins will not fall below their caps until

   2030.

      93. Thus, even under the County’s overly optimistic estimates, unless a property owner is

   eligible for Type I “Qualified Occupant” license, it will be years before any owner in the NOZ can

   even apply for an STR license, let alone get one. And even then few additional licenses will be

   available. Practically speaking, the vast majority of property owners in NOZ-designated areas—

   including but not limited to out-of-state residents—can never obtain an STR license under the

   County’s regime.

      94. The caps on STR licenses and the carveouts for Qualified Occupants in the NOZ result in

   discriminatory treatment.

      95. For example, SCRH member, Mr. Greg Gutzki (“Mr. Gutzki”), a long-time Summit

   County resident is ineligible to apply for an STR license just because he is retired.

      96. Mr. Gutzki moved to Summit County in 1973 and was a local employee for more than four

   decades. He worked in the County at hotels and as a general contractor; he also owned a painting

   company that, among other things, painted ski lifts.

      97. Mr. Gutzki owns a home in the Upper Blue Basin, which he personally built. He lives there

   for at least nine months of the year. The County designated Upper Blue Basin as NOZ.

      98. Mr. Gutzki does not currently use his home as an STR, but he would like to.

      99. In repeated communications with the County, Mr. Gutzki has inquired about applying for

   an STR license, including on July 10, 2023.

      100. In this latest exchange, the County informed Mr. Gutzki that it is no longer accepting

   applications for Type II licenses.




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      101. Mr. Gutzki cannot get a Type I STR license because—as a retiree—he does not meet the

   criteria of a Qualified Occupant. So under the County’s arbitrary STR regime, someone who spent

   essentially their entire adult life living and working in Summit County cannot obtain an STR

   license because they are not currently employed fulltime in the County. That does not make sense.

      102. Ordinance 20-C’s license caps combine with the BOCC’s prohibition on the transfer of

   STR licenses between unrelated sellers and buyers to discriminatorily impact interstate commerce.

      103. Ordinance 20-C effectively prohibits non-Colorado residents with properties in the NOZ

   from engaging in STRs. Non-Colorado residents are, by definition, not Qualified Occupants. They

   thus are subject to the license caps.

      104. For instance, SCRH member Rick Davis (“Mr. Davis”) cannot obtain a license to short-

   term rent his Wildernest property, located in the NOZ, because he is an out-of-state resident.

      105. Mr. Davis resides in Texas but spends about four months of the year in Summit County.

      106. Mr. Davis and his family have routinely visited Summit County since 1988 to ski and

   spend time outdoors as a family. In fact, Mr. Davis’s sons fell so much in love with Colorado that

   they moved out to Denver to be closer to the Rocky Mountains. Once Mr. Davis’s sons had families

   of their own, Mr. Davis and his wife decided to buy a home in Summit County where they could

   host family and be close to their grandkids.

      107. Mr. Davis bought his Wildernest home in March 2022.

      108. Mr. Davis bought his property with the express intent to use it as an STR. In fact, Mr.

   Davis used the potential STR income projected by a property management company to secure his

   Wildernest property mortgage.

      109. Before the BOCC passed its STR regulations, Mr. Davis initiated over $80,000 in

   renovations on his Wildernest home in anticipation of setting it up as an STR. For instance, he




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   personally replaced the light fixtures and installed modern thermostats, locks, and doorbell

   cameras. He also bought new living and dining room furniture, put in hardwood floors, and

   upgraded the kitchen and a bathroom.

      110. But Mr. Davis is being denied the right to engage in STRs because his primary residence

   is out-of-state. Indeed, when Mr. Davis applied for a license, the County denied his application but

   kept his nearly $800.00 application fee.

      111. Unable to rent his home as an STR, Mr. Davis has been renting out his home as a long-

   term rental (“LTR”). He conservatively estimates renting out his home as an LTR, instead of as an

   STR, has cost him over $20,000.00. This revenue shortfall has caused him to withdraw thousands

   of dollars from his IRA to cover his mortgage and other property expenses. This rental income

   disparity will continue to cost him going forward.

      112. If Mr. Davis remains unable to rent his property as an STR, he will be forced to sell it

   within the next two years.

      113. Similarly, Ordinance 20-C’s STR license caps in the NOZ and prohibitions on the transfer

   of STR licenses automatically deny STR licenses to those Summit County property owners who

   are Colorado residents but do not live in Summit County.

      114. For example, SCRH members Stephen and Lisa Wright (collectively, the “Wrights”)

   bought their Summit County property, which is in Peak Seven, in April 2022. They bought the

   home with the intent to rent it as an STR.

      115. The Wrights’ primary residence is in Arvada, Colorado.

      116. The property owners from whom the Wrights bought their home had an STR license. Yet

   the County’s STR regulations prohibited the transfer of that license.




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      117. The Wrights did not apply for an STR license because the County expressly told them

   that, if they applied, they would not receive one and would lose their application fee.

      118. The Wrights anticipated engaging in STRs and, without that income, will need to liquidate

   other assets or use their retirement savings to continue to pay their mortgage.

                  c. The County’s STR booking limitations are arbitrary and hurt homeowners.

      119. Under Ordinance 20-C, all STR license holders in the NOZ are limited to accepting no

   more than 35 STR bookings per year, as calculated from October 1 through September 30.

      120. On information and belief, the BOCC relied on no data or analysis to set the cap at 35

   STR bookings per year.

      121. The booking limit is an unnecessary impairment of protected property rights in the NOZ,

   which threatens property owners’ livelihoods.

      122. For example, SCRH member Tommy Jefferies (“Mr. Jefferies”) moved to unincorporated

   Summit County in 2010 and has lived there fulltime since then. Mr. Jefferies first worked as a

   Marriott housekeeping manager. Now, in the winter, he drives a snowcat for the Breckenridge Ski

   Resort and manages a local ski shop. In the summer, he works as a local carpenter.

      123. From 2012 to 2017, Mr. Jefferies rented a home in the Silver Shekel area in

   unincorporated Summit County, which is now designated as NOZ. To help cover his rent, Mr.

   Jefferies sublet the four unused bedrooms he did not occupy in the home to LTR housemates. But

   his LTR housemates were rough on the house, and Mr. Jefferies was constantly having to cover

   the housemates’ rent in order to not lose his own housing.

      124. After years of hard work, Mr. Jefferies now owns that very home, which he bought from

   his then-landlord in 2017.




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      125. Upon buying his home, Mr. Jefferies started hosting STR guests. He had had enough of

   irresponsible LTR housemates.

      126. Since switching his spare rooms to STRs, Mr. Jefferies has had no serious issues with his

   guests, and he has received zero complaints from his neighbors. In fact, his neighbors have told

   him they prefer living next to his STR guests as compared to the prior LTR residents.

      127. Mr. Jefferies has invested between $150,000 and $200,000, as well as thousands of hours

   of his labor, in restoring the exterior appearance of his home, interior remodels, and appliance

   upgrades.

      128. Mr. Jefferies has had many more than 35 bookings each year since he began using his

   home as an STR. In 2018, his very first year as an STR owner, Mr. Jefferies hosted 183 bookings.

   In 2019, that number grew to 258. Mr. Jefferies hosted 216 and 219 bookings, respectively, in

   2020 and 2021, only to have his numbers jump back up to 254 STR bookings in 2022.

      129. While many of Mr. Jefferies’s STR guests are visiting for just a few days, he also has

   hosted many individuals in the process of moving to Summit County. His rooms are typically one

   of the least expensive options for housing. And through his STR profile information, guests can

   see that he is a well-connected community member who can help them find more permanent

   housing and jobs. Indeed, Mr. Jefferies has become good friends with many individuals he has met

   through his STR and helped resettle in the Summit County community.

      130. Most SCRH members have averaged more than 35 STR bookings every year. And most

   SCRH members depend on their STR revenue to pay their property’s mortgage.

      131. Ordinance 20-C’s limitations on the STR bookings that Mr. Jefferies (and similarly

   situated individuals across unincorporated Summit County) can accept over the course of a year

   will materially impact his ability to cover his mortgage and property taxes.




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       132. Because Mr. Jefferies often rents his home’s rooms separately, Mr. Jefferies may reach

   the 35-booking limit in just a month. The County’s STR regulations, thus, would deprive Mr.

   Jefferies of 11 months of much-needed STR income. Indeed, Mr. Jefferies believes he will need

   to sell his home if the County’s STR regulations are allowed to stand because he will be unable to

   afford his mortgage. That would make Mr. Jefferies another local employee needing workforce

   housing—with the STR regulations being the cause of his housing need. That would be a perverse

   result.

       133. These STR regulations are also likely to have unintended consequences.

       134. For example, because Ordinance 20-C defines a booking as “an agreement to rent a unit

   of a period of less than 30 consecutive days for an exchange of consideration,” some SCRH

   members will be forced to end their partnerships with Advocates for Victims of Assault.

       135. Any hosted survivor through Advocates for Victims of Assault for which the homeowner

   accepts the payment of merely the cleaning fee would count as a booking and thus count against

   the number of bookings any NOZ STR could host in a year.

       136. For some STR homeowners, this change will make the partnership between them and

   Advocates for Victims of Assault not economically feasible.

   The BOCC’s STR regulations are not rationally related to achieving its stated goals.

       137. The BOCC attempts to justify Ordinance 20-C based on the goals below:

              a. Local Workforce Housing: Maintain the stock that exists for locals, develop

                  regulations that prioritize and preserve long-term rentals and locally owned housing

                  units.




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              b. Neighborhood Character: Create long-lasting STR regulations that preserve the

                  historic, long-term residential character of Summit County’s neighborhoods and

                  recognize the differing nature of the resort areas.

              c. Reduce Conflicts: Identify areas where STRs conflict with the primary residential

                  uses established in the traditional neighborhoods and adopt regulations that reduce

                  impacts and mitigate changes due to STRs.

              d. Balance: Summit County is a community with abundant resort amenities, long-

                  standing locals’ neighborhoods, and is a desirable place for second homeowners;

                  regain the balance between local residents, non-STR second-homes, and STRs.

              e. Clear Regulations: Adopt regulations that are straight-forward, easy to understand,

                  and easily enforceable.

   The problem for the County is that its STR regulations are not rationally related to achieving these

   goals.

                  a. The STR limits in the NOZ will not provide workforce housing.

      138. For decades, Colorado resort communities, including Summit County, have been facing

   workforce housing shortages. This is not a new problem, and STRs are not the cause.

      139. In fact, Summit County’s 2009 Comprehensive Plan brought up the same issues the

   County faces today: increasing housing prices and lack of affordable housing.

      140. People want to live in Colorado’s beautiful mountain communities, but available housing

   has not kept pace with population growth. For example, between 2010 and 2019, employment rates

   in Summit, Eagle, Pitkin, Grand, and Routt Counties grew by 17% (or 16,000 jobs), while housing

   units only grew by 8% (or 8,600 units).

      141. Building permits have also not kept pace with job growth in these counties.




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      142. But an LTR is not a substitute for an STR. So limiting STRs will not help fix the

   workforce housing shortage.

      143. According to a recent rental industry report, when accounting for price and rental

   availability (meaning the days a home is available for renters), fewer than 4% of the STRs in

   Summit County, as a whole, are suitable for workforce housing.

      144. In addition, the vast majority of owners would not rent their homes as LTRs because of

   the challenges associated with long-term renters, such as lack of flexibility to spend more personal

   time at their property, property damage from long-term renters, neighbor or other complaints with

   long-term renters, and long-term renters failures to pay rent when due.

      145. Not only do these homeowners wish to avoid the problems associated with LTRs, but

   they would also have to put their houses on the rental market at a cost that is too high for most

   long-term renters to afford.

      146. Most homeowners also wish to stay in their own homes much of the year. Nearly 60% of

   SCRH members report that they personally use their Summit County homes for more than 30 days

   a year, making them unavailable for most long-term renters.

      147. While the BOCC states that it seeks to preserve and grow the number of LTRs available

   to locals, it does not currently have a system to track the current or historical number of LTR units

   available similar to that which the County has for STRs.

      148. The BOCC’s unfounded bias against STRs is further shown by its selective reliance on

   studies of questionable veracity while ignoring other peer-reviewed studies showing that STRs

   only have a negligible impact on housing costs and the availability of workforce housing.

      149. There is just no rational basis to conclude that limiting STRs will increase LTRs for

   workforce housing in Summit County.




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                  b. The BOCC’s distinction among ROZ and NOZ areas of Summit County is
                  arbitrary and irrational.

       150. The BOCC claims that the distinction between the ROZ and the NOZ is based on the

   “character” of the area and that ROZ sections of the County were specifically built for tourism and

   that they have amenities to support it. For example, the BOCC seems to claim this distinction is

   based on the wealth of pools, hot tubs, and tennis and pickleball courts in the ROZ areas.

       151. But there is no rational distinction between areas classified as NOZ and those classified

   as ROZ, as many of the NOZ areas are indistinguishable from the ROZ. The whole County is a

   resort area.

       152. For example, while the BOCC classified the Wildernest area as NOZ, a vast portion of

   the properties there were originally built as ski condos for vacationers, some even in anticipation

   of Colorado’s rejected bid for the 1976 Winter Olympics. These units were not built to be primary

   residences: they are small and even the largest units often have a loft-style open floorplan for a

   third bedroom. Many of these properties do not have en-suite laundry, requiring guests go instead

   to the shared clubhouse. As other evidence of the long-standing practice of STRs, for many years

   HOAs themselves provided vacation rental property management programs in which property

   owners could enroll.

       153. Similarly, the area the County has designated as the Peak Seven area in the NOZ is at the

   base of one of the five mountains that comprise the Breckenridge Ski Resort—Peak 7, the very

   mountain from which the residential area gets its name. Every year, Breckenridge is one of the

   most visited ski areas in the United States. Peak 7, the mountain, has multiple chairlifts and

   accommodates abundant guest lodging at its base. The ski area is only a short walk from the Peak

   Seven NOZ area. Peak Seven is so close to the ski area that avalanche ordinances from the resort




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   often rattle the windows of area’s homes. The ski area, thus, inextricably helps define Peak Seven’s

   resort character.

      154. Peak Seven also has world-class hiking, biking, and Nordic ski trails running through the

   area with guest parking for those trails and snowcat grooming machines located next to homes.

      155. While the Grand Lodge at the base of the Peak 7, which can host over 110 bookings a

   night, is only a short walk from the Peak Seven NOZ area, there is even a lodge located in the

   supposed neighborhood zone. The High Country Lodge, located in the Peak Seven NOZ, can host

   upwards of 24 parties overnight and events of up to 150 guests.

      156. Despite these resort features, the County designated Peak Seven and Wildernest as NOZ.

   And these are just a couple of the areas designated NOZ in a resort county.

      157. ROZ and NOZ areas are treated the same under the County’s commercial and residential

   zoning regulations. Also, Colorado courts consider STRs residential use. Houston v. Wilson Mesa

   Ranch Homeowners Ass’n, 360 P.3d 255, 259 (Colo. App. 2015); accord O’Neil v. Conejos Cnty.

   Bd. Of Comm’rs, 395 P.3d 1185, 1190 (Colo. App. 2017).

      158. Many ROZ and NOZ areas alike have unpaved roads.

      159. ROZ and NOZ areas have comparably the same housing density.

      160. ROZ and NOZ areas are taxed at the same rates.

      161. ROZ and NOZ areas have similar housing stock.

      162. The imposition of the NOZ and ROZ zoning thus is arbitrary and irrational.

                  c. No legitimate evidence shows STR regulations will reduce conflicts or that
                  conflicts with STR occupants are greater than conflicts with LTR occupants.

      163. The BOCC claimed that incidences of complaints associated with STRs were relatively

   higher in the NOZ than in the ROZ.




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      164. Improper analysis. As an initial point, upon information and belief, the BOCC gave

   undue influence to the raw volume of complaints it received regarding STRs.

      165. On information and belief, the BOCC failed to appropriately analyze the data it received

   from the complaints. For example, upon information and belief, the BOCC failed to consider

   whether the complaints were legitimate and truly represented a violation of a local law and

   neglected to determine whether complaints were duplicates.

      166. The County’s own communications reveal that, at times, these complaints supported no

   official action because no regulations (noise or otherwise) were actually violated.

      167. But even taking the BOCC’s presented complaint data at face value shows that its animus

   towards STRs is unfounded.

      168. For example, between November 2021 and April 2022 (i.e., ski season), at a time when

   unincorporated Summit County homeowners held over 4,600 STR licenses, the BOCC reported

   only 123 total complaints stemming from STRs.

      169. Assuming only 4,600 relevant STR licenses, each with a modest ten bookings over one

   of the busiest ski seasons in Summit County history, a reported 123 complaints results in a rate of

   0.27% of STR bookings having a complaint. So more than 99.7% of STR bookings did not.

      170. Even assuming each of the 4,600 STRs had only five bookings over the 2021-2022 ski

   season, that results in a complaint rate of 0.53%—or 99.5% of STR bookings being complaint free.

      171. The BOCC’s own data shows that the rate of complaints related to STRs in Summit

   County is objectively low. It is irrational to think any amount of regulation could bring a violation,

   let alone a complaint, rate to zero.




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      172. Unreliable baseline. The BOCC’s data does not establish a reliable baseline. The County

   does not have a collection process similar to STRs for complaints related to LTRs or those for

   owner-occupied homes.

      173. Therefore, the BOCC cannot reliably track the incidents of complaints from LTRs or

   determine whether LTRs are responsible for many of these complaints.

      174. In fact, the BOCC has largely ignored problems associated with LTRs in the NOZ. And

   yet the BOCC is seeking to increase the number of LTRs in these areas.

      175. Thus, the BOCC does not have evidence of how STR complaints compare to complaints

   stemming from other sources in the community.

      176. Manipulated survey data to minimize STR supporters. The BOCC seemingly

   manipulated data it collected during a 2022 public survey that sought interested parties’ opinions

   of STRs.

      177. On information and belief, the BOCC held the public survey open from June 2022 until

   early October 2022.

      178. The survey asked interested parties to, among other things, rate the impact (whether

   positive, negative, not discernable, or mixed) of STRs on residential neighborhoods in the County

   and whether they believed STRs had reduced the number of LTRs in the County.

      179. Yet the survey itself allowed respondents to take the survey multiple times. Thus, there

   was no way of knowing if the survey results accurately represented the sentiments of the County

   as a whole.

      180. Even more critically, on August 29, 2022, an STR-rental company emailed Summit

   County hosts who operate their STRs through the platform reminding them to complete the survey.




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      181. After learning of that email, the BOCC—presumably to exclude survey responses spurred

   by the STR-rental company email that were supportive of STRs—only included survey data

   received on or before August 30, 2022. In other words, on information and belief, the BOCC

   purposefully ignored the responses received after that date, but within the announced survey

   period, to falsely skew the survey results against STRs.

      182. In fact, during its meeting held on January 4, 2023, the BOCC was still referencing data

   from the survey as of August 30, 2022—though the survey was open for at least a month after that

   date—to support its excessive STR regulations.

      183. Ineffective regulations. The BOCC relies on no data to show that its limitations on

   bookings will reduce the incidence of STR complaints in unincorporated Summit County.

      184. Limiting STR bookings does not address the problems that the complaints raise.

                  d. The BOCC’s desired balance between local residents, non-STR second-
                  homes, and STRs is vague and arbitrary, as evidenced by the similarities
                  between the NOZ and ROZ neighborhoods, as well as the County’s tourist-
                  based economy.

      185. Because tourism—an industry with an inherently cyclical nature—is the main driver of

   the County’s economy, there is a substantial inventory of housing units that are needed as vacation

   or recreational units, rather than as primary residences, to support the influx of visitors.

      186. Summit County has about 31,200 housing units, but only 10,600 households, meaning

   those identifying Summit County as their primary residence.

      187. Even with the backdrop of a growing tourism industry, the rates of housing units

   remaining vacant—in other words, those that are not occupied by permanent residents and thus

   could be used as an STR—in five Colorado counties, including Summit County, has remained

   relatively constant over the past ten years. A recent industry study found that the vacancy rate was

   48% in 2010 compared to 44% in 2019.



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       188. This metric suggests that LTRs are not being converted to STRs at a significant rate.

   Rather, housing that has always been used on a short-term basis is being used to host STR guests.

       189. At bottom, the right to own and rent property is a fundamental right under the United

   States and Colorado Constitutions. Mr. Ruelle, SCRH members, and others similarly situated have

   a property interest in the ownership and use of their Colorado properties. The County has violated

   that right, and its violative STR laws must be voided and enjoined.

                      FIRST CLAIM FOR RELIEF UNDER 42 U.S.C. § 1983
                (Violation of Equal Protection under the United States Constitution)

       190. Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

       191. The Fourteenth Amendment to the United States Constitution provides that Equal

   Protection of the laws shall not be denied to any citizen of the United States.

       192. Equal Protection of the law is denied when similarly situated parties are treated differently

   without a rational basis for such disparate treatment. City of Cleburne v. Cleburne City Living Ctr.,

   473 U.S. 432, 439 (1985).

       193. The STR regulatory framework created by Ordinances 20-B4 and 20-C, and as further

   codified in Chapter Four of the County’s Land Use and Development Code, treats similarly

   situated property owners in unincorporated Summit County differently and does not advance a

   legitimate governmental interest.

       194. Those property owners who happen to have bought in what the BOCC is now labeling a

   “Resort Overlay Zone” may keep renting their homes as they like.




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    The BOCC’s website now asserts that Ordinance 20-B has been “Repealed.” But Ordinance
   20-C expressly references the operative provisions of Ordinance 20-B, and the ROZ and NOZ
   designations started in Ordinance 20-B. Additionally, Ordinance 20-C’s provision on repealing
   prior ordinances contemplates the partial repeal of a prior ordinance. Thus, to the extent
   Ordinance 20-B is still operative, Plaintiffs challenge it.

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      195. Yet homeowners in the “Neighborhood Overlay Zone” are enlisted in the County’s

   misguided attempt to subsidize housing affordability through the BOCC’s regulations limiting the

   uses of their properties.

      196. Plaintiff Mr. Ruelle owns a home in the NOZ and thus is subject to the STR limits

   imposed by Ordinances 20-B and 20-C. He has historically leased his home for STRs free from

   booking limits but now must comply with the County’s limitations.

      197. Plaintiff SCRH’s members own properties in the NOZ that are subject to the STR limits,

   including the booking limits and STR license caps. Many, including Mr. Jefferies, have historically

   leased their properties for STRs free from booking limits. Others wish to obtain STR licenses but

   cannot under the County’s ordinances, including Messrs. Gutzki and Davis.

      198. The BOCC’s STR regulations that treat similarly situated property owners in the NOZ

   and ROZ areas differently do not substantially advance a legitimate governmental interest and are

   arbitrary and irrational. They thus facially violate Mr. Ruelle’s and SCRH members’ rights secured

   by the Equal Protection Clause of the United States Constitution.

      199. Mr. Ruelle, SCRH members, and other similarly situated County property owners are thus

   entitled to the declaratory and injunctive relief requested in the Prayer for Relief below.

                    SECOND CLAIM FOR RELIEF UNDER 42 U.S.C. § 1983
                (Violation of Equal Protection under the United States Constitution)

      200. Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

      201. Ordinance 20-C’s definition of a “Qualified Occupant” treats similarly situated property

   owners in unincorporated Summit County differently and thus violates the Fourteenth

   Amendment’s Equal Protection Clause.




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      202. A homeowner in the NOZ who receives Qualified Occupant status for their property

   under the BOCC’s definition is not subject to the STR license caps, while a homeowner who does

   not is subject to the caps and thus is ineligible for an STR license.

      203. County residents who pay the same taxes, shop at the same grocery store, and send their

   children to the same schools receive disparate treatment merely based on the employer for whom

   they work or whether they have been able to retire.

      204. For example, only because Mr. Gutzki has already retired, after decades of working in

   the County, is he not eligible to apply for an STR license.

      205. This demarcation of Qualified Occupants and the distinction the STR regulations impose

   among homeowners with their primary residence in unincorporated Summit County is not

   rationally related to a legitimate governmental purpose.

      206. The BOCC’s differential treatment of those who do not qualify as Qualified Occupants

   violates SCRH members’, including Mr. Gutzki’s, rights secured by the Equal Protection Clause

   of the United States Constitution by arbitrarily and irrationally denying equal protection of the

   law.

      207. Ordinance 20-C’s definition of a Qualified Occupant, and the resulting differential

   treatment of those who do not meet that threshold, is facially unconstitutional.

      208. SCRH members and others similarly situated are thus entitled to the declaratory and

   injunctive relief requested in the Prayer for Relief below.

                      THIRD CLAIM FOR RELIEF UNDER 42 U.S.C. § 1983
                          (Violation of the Dormant Commerce Clause)

      209. Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

      210. A law violates the dormant Commerce Clause if it discriminates on its face against

   interstate commerce by producing “differential treatment of in-state and out-of-state economic



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   interest that benefits the former and burdens the latter.” United Haulers Ass’n, Inc. v. Oneida-

   Herkimer Solid Waste Mgmt. Auth., 550 U.S. 330, 338 (2007). The discrimination may be in the

   law’s purpose or in its effect.

      211. That a local ordinance also discriminates against intrastate commerce does not save its

   constitutionality. See C & A Carbone, Inc. v. Town of Clarkstown, 511 U.S. 383, 391 (1994); Dean

   Milk Co. v. City of Madison, 340 U.S. 349, 354 n.4 (1951).

      212. Ordinance 20-C’s definition of a Qualified Occupant, together with the license caps per

   basin imposed on Type II licenses in the NOZ, burden interstate commerce and discriminate

   against out-of-state economic interests.

      213. Only in-state-residents can be Qualified Occupants, and only Qualified Occupants can

   rent STRs under a Type I license. Type I STR licenses are the only STR licenses available in the

   NOZ. Thus, out-of-state residents, as compared to in-state Qualified Occupants, are ineligible to

   get a license to operate STRs in the NOZ.

      214. Ordinance 20-C burdens interstate commerce through its requirement that a Summit

   County, Colorado resident be a Qualified Occupant for an STR license.

      215. The BOCC’s STR regulatory framework does not advance a legitimate public purpose

   that cannot be adequately served by reasonable nondiscriminatory alternatives. See Dept. of Rev. v.

   Davis, 533 U.S. 328, 338 (2008); see also Hignell-Stark v. City of New Orleans, 46 F. 4th 317,

   328–29 (5th Cir. 2022); South Lake Tahoe Prop. Owners Group v. City of South Lake Tahoe, 310

   Cal. Rptr. 3d 9 (Cal. Dist. Ct. App. 2023).

      216. The BOCC’s stated goal of providing local workforce housing could be achieved by, for

   example, increasing building permits; purchasing existing structures and converting them to

   affordable housing; providing additional incentives for homebuilders to construct additional




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   affordable housing; easing deed restrictions, permit fees, and other costs related to adding

   accessory dwelling units to existing properties; or directly subsidizing local workforce housing.

      217. Similarly, the County could reduce conflicts and adequately address complaints related

   to STRs from neighbors (to the extent this is even a substantial issue) by increasing the County’s

   enforcement efforts, heightening the chance that guests and owners face punishment for unlawful

   actions.

      218. And finally, preserving the neighborhood character and balancing the ratios of local

   residents, non-STR second home-owners, and STRs is a justification rooted in discriminatory

   treatment of out-of-state residents and, thus, is not legitimate.

      219. Defendants’ discriminatory treatment of interstate commerce violates the dormant

   Commerce Clause, as it burdens out of state interests to the benefit of local residents.

      220. The BOCC’s STR regulations that discriminate against interstate commerce are thus

   facially unconstitutional.

      221. Therefore, SCRH members, including Mr. Davis, and those similarly situated are entitled

   to the declaratory and injunctive relief requested in the Prayer for Relief below.

                     FOURTH CLAIM FOR RELIEF UNDER 42 U.S.C. § 1983
                            (Violation of Substantive Due Process)

      222. Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

      223. The Fourteenth Amendment to the United States Constitution provides that no person

   may be “depriv[ed] of life, liberty, or property, without due process of law.”

      224. The hallmark of private property is an individual entitlement grounded in law that cannot

   be removed except for cause.

      225. An individual’s property rights in land include not only the right to use the property, but

   also the right to lease it. Terrace v. Thompson, 263 U.S. 197, 215 (1923).



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      226. By limiting the number of bookings an STR owner can accept each year to 35, Ordinance

   20-C infringes on the fundamental right to rent private property and violates Mr. Ruelle’s and

   SCRH members’ rights to substantive due process.

      227. Mr. Ruelle and SCRH members have dedicated resources to improve their homes for their

   use as STRs. For example, of the SCRH members surveyed, the vast majority have spent

   substantial amounts improving their properties for STR purposes. For nearly 75% of the properties,

   SCRH members have spent more than $25,000.00 on improvements, and for nearly 50% of the

   properties, SCRH members have spent more than $75,000.00 on improvements.

      228. And because of the limitations on the number of bookings an STR owner in the NOZ can

   host, SCRH’s members will suffer significant reductions in the revenue obtained from their STRs.

      229. Community programs that benefit from STRs will also suffer. For example, as a result of

   the booking limitations, it will become economically unfeasible for Mr. Ruelle to continue to

   participate in the lodging match program run by Advocates for Victims of Assault because each

   time a program participant stays at his home and he collects a nominal cleaning fee, he will be

   using one of the 35 STR bookings he is allowed. The same goes for him continuing to host

   Colorado State Patrollers. There will be countless other unintended consequences across the

   community resulting from the County’s ill-conceived regulations.

      230. The annual 35 STR-bookings limit is arbitrary and does not substantially advance a

   legitimate governmental interest.

      231. There is no rational basis for the arbitrary cap of 35 STR bookings per year as the cap

   impedes economic activity in unincorporated Summit County; restricts Mr. Ruelle’s, SCRH

   members’, and similarly situated individuals’ ability to cover their mortgages or pay other




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   expenses; and does not result in increased affordable housing for the local workforce nor a decrease

   in the likelihood of neighbor complaints.

      232. The BOCC’s yearly 35 STR-bookings limitations, therefore, violates Mr. Ruelle’s and

   SCRH members’ right to substantive due process by imposing an arbitrary cap on STR bookings

   in a year with no rational basis.

      233. Ordinance 20-C’s STR bookings limitation is therefore facially unconstitutional.

      234. Mr. Ruelle, SCRH members, and those similarly situated are thus entitled to the

   declaratory and injunctive relief requested in the Prayer for Relief below.

          FIFTH CLAIM FOR RELIEF UNDER THE COLORADO CONSTITUTION
                        (Violation of Substantive Due Process)

      235. Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

      236. The Colorado Constitution provides that “[a]ll persons have certain natural, essential and

   inalienable rights, among which may be reckoned the right of enjoying and defending their lives

   and liberties; of acquiring, possessing and protecting property; and of seeking and obtaining their

   safety and happiness.” Colo. Const. art. II, sec. 3 (emphasis added).

      237. The Colorado Supreme Court has noted that an “essential element[] of property is the

   right to its unrestricted use and enjoyment,” subject only to what is “necessary to provide for the

   welfare and general security of the public,” Wright v. City of Littleton, 483 P.2d 953, 954 (Colo.

   1971) (emphasis added). Thus, statutes that have “no real or substantial relation to” “the public

   health, morals, safety, or common welfare . . . and for that reason [are] a clear invasion of the

   constitutional freedom of the people to use, enjoy or dispose of their property without unreasonable

   governmental interference,” must be declared void by the courts. Colorado Anti-Discrimination

   Comm’n v. Case, 380 P.2d 34, 41 (Colo. 1962). So, under Colorado law, any government

   regulation of property must be reasonable. Id.



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       238. By limiting the number of bookings an STR owner can accept each year to 35, Ordinance

   20-C infringes on the fundamental right to rent private property and violates Mr. Ruelle’s and

   SCRH members’ rights to substantive due process.

       239. The annual cap on STR bookings is not rationally related to a legitimate government

   interest nor is it reasonable.

       240. The BOCC’s yearly 35 STR bookings limitations, therefore, violates Mr. Ruelle’s and

   SCRH members’ right to substantive due process by imposing an arbitrary cap on STR bookings

   in a year with no rational basis.

       241. Ordinance 20-C’s STR bookings limitation is therefore facially unconstitutional.

       242. Mr. Ruelle, SCRH members, and those similarly situated are thus entitled to the

   declaratory and injunctive relief requested in the Prayer for Relief below.

                                      SIXTH CLAIM FOR RELIEF
                                    (Violation of C.R.S. § 30-28-120(1))

       243. Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

       244. Colorado law establishes that the

           lawful use of a building or structure or the lawful use of any land, as existing and
           lawful at the time of the adoption of a zoning resolution or, in the case of an
           amendment of a resolution, at the time of such amendment, may be continued,
           although such use does not conform with the provisions of such resolution or
           amendment, and such use may be extended throughout the same building if no
           structural alteration of such building is proposed or made for the purpose of such
           extension.

       245. The use of a property as an STR is a legal nonconforming use that runs with the land. See

   Town of Lyons v. Bashor, 867 P.2d 159, 160 (Colo. App. 1993).

       246. Ordinance 20-C’s limitations on the number of bookings an STR owner can accept

   throughout a year violates Colorado’s statutory right to the continued nonconforming use of a

   property as an STR.



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      247. Before the enactment of Ordinance 20-C, Mr. Ruelle and other SCRH members regularly

   and lawfully rented out their homes to STR guests for more than 35 STR bookings per year.

      248. Indeed, for example, under the 35-booking limit Mr. Jefferies will lose 86% of his

   bookings compared to the STR guests he hosted in 2022.

      249. Mr. Ruelle, Mr. Jefferies, and other SCRH members have not, and need not, make

   structural alternations to their properties to continue renting them as STRs.

      250. By imposing the 35 STR-bookings-per-year limitation, the BOCC is encroaching on a

   lawful prior use of a structure and land.

      251. Therefore, Mr. Ruelle, SCRH members, and those similarly situated are thus entitled to

   the declaratory and injunctive relief requested in the Prayer for Relief below.

                                  SEVENTH CLAIM FOR RELIEF
                                  (Violation of C.R.S. § 30-28-120(1))

      252. Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

      253. The BOCC’s prohibition on the transfer of STR licenses upon the sale of a property

   between an unrelated seller and buyer within unincorporated Summit County also violates

   Colorado law on the continued nonconforming use of property.

      254. At the time Ordinance 20-C was adopted, Mr. Ruelle’s and other SCRH members’ homes

   were lawfully used as STRs.

      255. Since the passage of Ordinance 20-C, Mr. Ruelle and other SCRH members have not

   made structural alterations to their homes merely to continue their use as STRs.

      256. The lawful use of Mr. Ruelle’s and SCRH members’ homes as STRs runs with the

   properties. See Bashor, 867 P.2d at 160.




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      257. But the BOCC’s cap on STR licenses together with prohibiting the transfer of STR

   licenses upon the sale of an STR property, in effect, terminates the lawful nonconforming use of

   Mr. Ruelle’s and SCRH members’ properties.

      258. Therefore, the restriction on the transfer of STR licenses upon the sale of a property within

   unincorporated Summit County together with the caps on STR licenses per basin violates Colorado

   statutory law.

      259. Mr. Ruelle, SCRH members, and those similarly situated are thus entitled to the

   declaratory and injunctive relief requested in the Prayer for Relief below.

                                  EIGHTH CLAIM FOR RELIEF
                                (Violation of C.R.S. § 38-1-101(3)(a))

      260. Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

      261. Colorado statutory law provides that “[n]otwithstanding any other provision of law to the

   contrary, a local government shall not enact or enforce an ordinance, resolution, or regulation that

   requires a nonconforming property use that was lawful at the time of its inception to be terminated

   or eliminated by amortization.” C.R.S. § 38-1-101(3)(a).

      262. Mr. Ruelle’s and other SCRH members’ renting out of the Summit County properties as

   STRs is a legal nonconforming use.

      263. By jointly enacting the STR license caps for Type II licenses under Ordinance 20-C and

   prohibiting the transfer of STR licenses upon the sale of a property in the NOZ areas of

   unincorporated Summit County, the BOCC is, in effect, eliminating by amortization a lawful

   nonconforming use—the rental of a property as an STR.

      264. Because a property’s exemption as a prior nonconforming use runs with the land, Bashor,

   867 P.2d at 160, the prohibition on transferring any lawful NOZ STR license upon the sale of a

   property violates Colorado’s statutory protections of non-conforming uses in that the new owner



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   will not be eligible to apply for and obtain a Type II STR license to continue that lawful

   nonconforming use.

      265. In effect, the BOCC is unlawfully using the current owner’s continued use of the STR

   license before sale of the property as a period of amortization, after which the provisions of

   Ordinance 20-C terminate the lawful nonconforming use.

      266. Therefore, Mr. Ruelle, other SCRH members, including the Wrights, and those similarly

   situated are thus entitled to the declaratory and injunctive relief requested in the Prayer for Relief

   below.

                                    NINTH CLAIM FOR RELIEF
                                    (Violation of § 38-1-101(3)(a))

      267. Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

      268. Ordinance 20-C likewise violates Colorado’s prohibition on the enactment or

   enforcement of ordinances that terminate a legal nonconforming use through its imposition of the

   35 STR-bookings-per-year limitation for each property within the NOZ.

      269. Before Ordinance 20-C, STR owners lawfully accepted as many bookings year-round as

   their homes could fit, subject to occupancy standards and to the owners’ desires to spend time at

   their homes.

      270. Ordinance 20-C unlawfully restricts this prior usage as it terminates an STR homeowner’s

   ability to determine, within the occupancy limitations, the number of bookings the owner needs or

   wants for the year.

      271. Therefore, Mr. Ruelle, other SCRH members, and those similarly situated are thus entitled

   to the declaratory and injunctive relief requested in the Prayer for Relief below.




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                                        PRAYER FOR RELIEF

          Wherefore, Plaintiffs ask the Court to enter judgment in its favor and against Defendants

   and to order the following relief:

              a. A declaration that Summit County Ordinance 20-B’s distinction between the Resort

                  Overlay Zone and Neighborhood Overlay Zone and the corresponding differential

                  regulation of private property is unconstitutional on its face, rendering it void;

              b. A declaration that Summit County Ordinance 20-B’s definition of a “Qualified

                  Occupant” and the corresponding differential regulation of private property is

                  unconstitutional on its face, rendering it void;

              c. A declaration that Summit County Land Use and Development Code’s distinction

                  between the Resort Overlay Zone and Neighborhood Overlay Zone in Chapter Four

                  and the corresponding differential regulation of private property is unconstitutional

                  on its face, rendering it void;

              d. A declaration that Summit County Ordinance 20-C’s caps on the number of

                  bookings any Short Term Rental in the NOZ may be rented during a year is

                  unconstitutional on its face, rendering it void;

              e. A declaration that, under Colorado law, Ordinance 20-B’s and 20-C’s booking

                  limitations, prohibition on the transfer of Short Term Rental licenses, and caps on

                  the number of STR licenses, as enforced against homeowners who were lawfully

                  renting their properties as Short Term Rentals, are unlawful, and thus homeowners

                  who have been renting their properties as Short Term Rentals may continue to do

                  so unimpeded as legal nonconforming uses that run with the land;




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            f. A declaration that, under Colorado law, Ordinances 20-B’s and 20-C’s booking

               limitations, prohibition on the transfer of Short Term Rental licenses, and caps on

               the number of STR licenses, as enforced against homeowners who bought their

               residential properties in the County during the period that Ordinances 20-B or 20-C

               were in effect and where the prior owners operated the property as a Short Term

               Rental, are unlawful, and thus homeowners whose properties have been rented as

               Short Term Rentals may continue to do so unimpeded as legal nonconforming uses

               that run with the land;

            g. A permanent injunction prohibiting Defendants from violating any provision of the

               United States or Colorado Constitutions or Colorado Statutes, including, but not

               limited to, undertaking or authorizing the enforcement of Ordinances 20-B’s and

               20-C’s (1) differential treatment of Short Term Rental owners within Summit

               County based on Qualified Occupant status; (2) discriminatory treatment of out-of-

               state homeowners; (3) limitations on the number of bookings Short Term Rental

               owners may accept during a year; (4) limitations on the number of Short Term

               Rental licenses in the County and denial of new licenses under the basin caps; and

               (5) prohibition on the transfer of STR licenses;

            h. An award in Plaintiffs’ favor and against Defendants for Plaintiffs’ reasonable

               expenses, including attorneys’ fees and costs under 42 U.S.C. § 1988, incurred as

               a result of prosecuting this case; and

            i. Any and all other relief that the Court deems just and proper.




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   Respectfully submitted this 14th day of August, 2023.

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